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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

LISA KWESELL, CHRISTINE                        :
TURECEK and JASON SCHWARTZ,                    :       CASE NO: 3:19-cv-01098-KAD
Individually and on behalf of all others       :
similarly situated,                            :
                                               :
                       Plaintiffs,             :
                                               :
v.                                             :
                                               :
YALE UNIVERSITY,                               :       September 7, 2021
                                               :
                       Defendant.              :

                                     JOINT STATUS REPORT

       Pursuant to the Court’s Order (Dkt. No. 70), the Parties write to report that they

participated in a private mediation on August 11, 2021. The mediation was productive, and the

Parties are continuing their discussions. The Parties respectfully request that they be permitted

to file a further joint status report on or before September 22, 2021, to report on the status of

their negotiations or to request scheduling of argument on the pending motions.
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                                 RESPECTFULLY SUBMITTED,

                                 THE DEFENDANT

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the above-stated date, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the Court’s electronic filing system and

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                      /s/ Joshua R. Goodbaum
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